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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   B.J.M.V., INC. et al.,                        CV 20-1675 PA (SHKx)

12                 Plaintiff,                      JUDGMENT
13          v.
14   VAIL ENERGY DEVELOPMENT, INC.
     et al.,
15
                   Defendants.
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18          Pursuant to the Court’s September 18, 2020 Minute Order dismissing this action for
19   lack of prosecution and for failure to comply with a Court order,
20          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21   dismissed without prejudice.
22          IT IS SO ORDERED.
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24   DATED: September 18, 2020                         _________________________________
                                                                  Percy Anderson
25                                                       UNITED STATES DISTRICT JUDGE
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